Case 5:16-cv-00357-WFJ-PRL Document19 Filed 12/07/16 Page 1 of 2 PagelD 265

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UNNOTARIZED OATH
Under penalties of perjury, I declare that I have read the foregoing motion

and the facts stated in it are true.

Executed this Stw day of _fecenloer , 20 Ib

/s/ UN vucdal () Eva db ture

CERTIFICATE OF SERVICE

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